Case 2:24-cr-00131-JKW-RJK Document9 Filed 11/25/24 Page 1 of 2 PagelD# 19

AO 442 (Rev. 11/11) Arrest Warrant

UNITED STATES DISTRICT COURT
for the ORIGINAL

Eastern District of Virginia

United States of America _ S EA LE }

“ ; Case No. 2:24cr131 =
RONDELL CLARK Few Wee, AF 2
q >
Defendant _
ARREST WARRANT “se
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) Rondell Clark 4
who is accused of an offense or violation based on the following document filed with the court:

M Indictment (1 Superseding Indictment 1 Information  Superseding Information © Complaint
© Probation Violation Petition © Supervised Release Violation Petition Violation Notice O Order of the Court

This offense is briefly described as follows:

T.18:1349 - Conspiracy to Commit Mail Fraud (Count One, et al.)

Date: 11/21/2024 ANY SS
suing officer's signature
City and state: _ Norfolk, Virginia ee _ Douglas E. Miller, U.S. Magistrate Judge
Printed name and title
Return
This warrant was received on (date) - , and the person was arrested on (date)

at (city and state)

Date:

Arresting officer's signature

Printed name and title

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UNITED STATES DISTRICT COURT
for the ORIGINAL

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FroD: 117 YO 22

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veitne afficer * senahire

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Printed name and ttle

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Date: \\: a5: 2024

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Printed name and title

